                                                                          GLRRNN oiTlllettl.*.ullid.GQURT
                                                                             .. AT ABINGDONIVA .
                                                                                      FILED
                           IN TH E U NITED STATES DISTRICT COURT
                           FOR TH E W ESTERN D ISTRICT O F VIR GINIA              AF2 l! 2218
                                     APINGDON DIW SION                       Ju     . ul
                                                                            BY:
HUM AN RIGH TS D EFEN SE CENTER,                                                         CL

         Plaintiff,

V,                                                   Case No.1:18-cv-13

SOUTHW EST VIRGINIA REGIO NAL
JAILAUTHORITY,etal.,
             Defendants.


                                            ORD ER

         BeforethecourtisaConsentMotionforExtepsionfiledbydefendantstheSouthwest
         .                                           f'

Virginia Regional Jail Authority and Stephen Clear (collectively ''SW VRJ'') requesting
additionaltimeto respondtotheComplaintand Motion forPreliminary Injunction filed by
the plaintiff.The plaintiffdoes not objectto an exteùsion.For the reasons set forth in
SW VRJ'Smotion and forgood causeshown,itishereby ORDERED thatSW VRJ'Smotion is
GR ANTED.

         SW VRJshallhavethrough and including May 29,2018 in which to respond to the
ComplaintandMotionforPreliminary Injunction
         Itis SO ORD ERED.

                                                          ENTER: April19,2018




                                                          Hon. m esP.JOn
                                                          UnitedStatesDistrictJudge



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4849-1396-7458.v1
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